    Case 3:12-cr-01243-BEN   Document 237   Filed 06/07/13   PageID.802     Page 1 of 1
                                                                                        -.
                                                                           FILED
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                    I JUN ~ 7 2013]
                                                                      CLE'iK. u,s C,S·RI:r ~CuRT
                                                                   SOIJ':"'iE=tr-.DI'TRiCT F C·LIFCR~IA
                                                                   BY                          DEPUTY
UNITED STATES OF AMERICA,                   CASE NO. 12CR1243-BEN

                       Plaintiff,
               vs.                          JUDGMENT OF DISMI SSAL
TYLER DAVID WILKERSON (8),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment:

     21:841(a) (1) and 846-Conspiracy to Manufacture and Distribute

     Marijuana; 21:841(a) (1) and 18:2 - Manufacture of Marijuana Plants

     and Aiding and Abetting

     IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JUNE 4, 2013
